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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
SHEILA COFFIN HARSHMAN,                )
                                       )
            Plaintiff,                 )
                                       )                    Civil Action No.
      v.                               )                    24-13061-BEM
                                       )
JOSHUA MANIER, et al.,                 )
                                       )
            Defendants.                )
_______________________________________)

                 ORDER ON PLAINTIFF’S MOTION FOR
       TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

MURPHY, J.

       Plaintiff Sheila Coffin Harshman has moved for a temporary restraining order. Dkt. 21

(“Mot.”). For the reasons stated herein, the motion is DENIED. The Court further orders

Harshman to SHOW CAUSE for why this action should not be dismissed for lack of jurisdiction,

as explained further below.

I.     Background

       In her verified amended complaint, Harshman alleges that she has lost or will soon lose

control over certain properties due to unlawful and/or deceitful acts allegedly committed by the

various Defendants, effected through fraud and/or error in underlying bankruptcy and foreclosure

proceedings.   See generally Dkt. 23; Mot. at 1–2 (stating that “the underlying Bankruptcy

proceeding lacks standing and jurisdiction” and that the “eviction or enforcement actions” are

“based on a jurisdictionally defective bankruptcy and void contracts”).
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         In her motion for temporary relief, Harshman asks the Court to “[s]tay all state eviction

proceedings” related to four properties at issue in the lawsuit. Mot. at 1. Three of those properties 1

were sold through bankruptcy proceedings—appeal from which is currently being heard by

another session of this court. Appellant’s Initial Appeal Brief at 3, In Re Snowshoe Millworks LLC

et al, Civ. No. 24-12894, Dkt. 10 (D. Mass. Jan. 8, 2025); In Re Snowshoe Millworks LLC, Bankr.

No. 23-10887, Dkts. 138, 146, 182, 192 (Bankr. D. Mass.) (bankruptcy orders authorizing sales

and related trustee reports).           The fourth property2 was auctioned pursuant to foreclosure.3

Dkt. 23-5 (newspaper notice of the foreclosure sale); Dkt. 23-6 (post-sale notice to quit and vacate

premises).

II.      Discussion

         Jurisdictional issues preclude much of the relief Harshman seeks, both in the instant motion

and in the case generally.

         A.         Temporary Restraining Order

         The Court lacks jurisdiction to enter the relief sought. With limited exceptions not relevant

here, federal courts lack jurisdiction to enjoin state-court proceedings. 4 See Rovito v. N. Andover

Avalon, Inc., 2023 WL 6610756, at *1 (D. Mass. Oct. 10, 2023) (finding that the Anti-Injunction




         1
         1 and 2 Windsor Road, Siasconset, Nantucket, Massachusetts; and 62 Pine Avenue, Hyannis,
Massachusetts. Mot. at 1.
         2
             34 Exeter Street, Nantucket, Massachusetts. Mot. at 1.
         3
           The amended complaint also references two additional properties in Maine, which Harshman alleges were
“liquidated under duress.” Dkt. 23 at 4, 12.
         4
           The exceptions are where an injunction is “expressly authorized by Act of Congress,” “necessary in aid of
[the court’s] jurisdiction,” or “to protect or effectuate [the court’s] judgments.” 28 U.S.C. § 2283; see also Garcia v.
Bauza-Salas, 862 F.2d 905, 909–10 (1st Cir. 1988) (explaining the three exceptions).



                                                           2
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Act, 28 U.S.C. § 2283, precluded stay of state-court eviction proceedings, notwithstanding

allegations of due-process violations in housing court). Accordingly, the motion is DENIED. 5

        B.       Show Cause

        Moreover, the intertwined nature of this action with state-court and bankruptcy

proceedings (and the pending appeal of those proceedings) calls into question this Court’s

jurisdiction more generally. See Morales Feliciano v. Rullan, 303 F.3d 1, 6 (1st Cir. 2002)

(“[F]ederal courts are courts of limited jurisdiction, and thus must take pains to act only within the

margins of that jurisdiction.” (quoting Cumberland Farms, Inc. v. Me. Tax Assessor, 116 F.3d

943, 945 (1st Cir. 1997))).

        District courts may review bankruptcy court decisions only by direct appeal. See In re

High Voltage Eng’g Corp., 379 B.R. 399, 402 (D. Mass. 2007) (“The rules are designed to

carefully hand off jurisdiction from one court to another to avoid the situation where multiple

courts simultaneously rule on identical issues.”), aff’d, 544 F.3d 315, 318 (1st Cir. 2008)

(confirming that appeal from decision of a bankruptcy court “must be filed within the four corners

of the case in which that order or judgment was entered”). Thus, any claims predicated on

challenging the underlying bankruptcy proceedings are precluded.

        Likewise, district courts lack jurisdiction to review state-court judgments. Sheehan v.

Marr, 207 F.3d 35, 39–40 (1st Cir. 2000); see also Green v. City of Bos., 966 F. Supp. 117, 119

(D. Mass. 1997) (“This Court does not have jurisdiction to review findings of fact made by the

Housing Court.”), aff’d, 132 F.3d 30 (1st Cir. 1997). Thus, claims contradicting any state-court

judgment, including any decision of the housing court, are precluded.



        5
          The Court notes that similar motions have twice been denied in the bankruptcy appeal. See In Re Snowshoe
Millworks LLC et al, Civ. No. 24-12894, Dkts. 22, 35.



                                                        3
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         This appears to settle most, if not all, of Harshman’s claims. 6 See Dkt. 23 at 8 (“This case

centers on the Defendants’ . . . seiz[ure of] Plaintiff’s real estate through foreclosure, eviction, and

bankruptcy proceedings.”). Specifically, it appears that any claim related to the Stage Point loan, 7

the Windsor Road properties, and the Pine Avenue property is precluded by prior decision of the

bankruptcy court. See In Re Snowshoe Millworks LLC, Bankr. No. 23-10887, Dkts. 138, 146, 182,

192, 222. Assuming that the “unenforceable contract[]” on which Harshman predicates her claims

related to the Maine properties is the same Stage Point loan, it would appear that those claims are

likewise precluded. See Dkt. 23 at 18–19. The record is unclear exactly what process has applied

to the Exeter Street property; however, Harshman’s complaint refers to “[e]viction proceedings”

that potentially have preclusive effect. See id. at 4.

         Accordingly, Harshman is ordered to SHOW CAUSE by May 2, 2025, for why any claim

alleged in this action should not be dismissed as precluded by the prior decision of a bankruptcy

or state court. In response, Harshman must disclose the relevant docket numbers, or other

identifying information, for any relevant legal action, whether prior or ongoing. 8 Failure to

adequately address the Court’s concerns will result in dismissal.




         6
           The Court construes pro se filings liberally. Foley v. Wells Fargo Bank, N.A., 772 F.3d 63, 75 (1st Cir.
2014). However, the Court notes that both the original complaint, Dkt. 1, and amended complaint, Dkt. 23, lack
substantial clarity and consist primarily of legal conclusions. See, e.g., Dkt. 23 at 18–19 (stating that Harshman was
“fraudulently induced to sell” her Maine property “in a desperate effort to stave off imminent foreclosure orchestrated
through unenforceable contracts and coordinated threats” (emphases removed)); see also Koplow v. Watson, 751 F.
Supp. 2d 317, 320–21 (D. Mass. 2010) (finding dismissal appropriate where pro se plaintiff failed to make allegations
that were “simple, concise, and direct” (quoting Fed. R. Civ. P. 8(d)(1))).
         7
           See In Re Snowshoe Millworks LLC, Bankr. No. 23-10887, Dkts. 318–23 (denying various motions related
to the loan).
        8
          Harshman likely should have already provided this information, given the sworn statement in her amended
complaint. See Dkt. 23 at 41.



                                                          4
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III.     Conclusion

         For the foregoing reasons, Plaintiff’s motion for a temporary restraining order is DENIED.

Plaintiff is further ordered to SHOW CAUSE for why this action should not be dismissed, per the

above.

So Ordered.

                                                  /s/ Brian E. Murphy
                                                  Brian E. Murphy
Dated: April 16, 2025                             Judge, United States District Court




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